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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MICHELLE L. KOSILEK,
Plaintiff,
v. C.A. No. 00-12455-MLW
LUIS S. SPENCER, in his official
capacity as Commissioner of the
Massachusetts Department of

Correction,
Defendant

vV`/Vvvvvvv

 

woLF, D.J. February 5, 2013

It is hereby ORDERED that the attached redacted version of the
AffidaVit of Luis S. Spencer (Under Seal) (Docket No. 615-2, with
further redactions made by the court) shall be docketed for the

public record in this case.

\€-=J\/

UNITED TATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT

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MICHELLE KoleEK, ,. ' , .
i'£ll J??Z 31 13 l!-' l'.‘i
Piaimiff,
v. civil Action No. 00-12455-MLW "

LUIS S. SPENCER, in his official
capacity as Commissioner of the
Massachusetts Department of Correction,

Defendant.

AFFIDAVIT OF LUIS S. SPENCER (UNDER SEAL) §EDACTED[

I, Luis S. Spencer, do hereby depose and state as follows:

1. I am the Commissioner of Correction for the Commonwealth of Massachusetts.

2. I have read the Court’s Memorandum and Order dated January 18, 2013 with
respect to this litigation. I have also read the Court’s Order of November 20, 2012, which stayed
the September 4, 2012 Order providing sex reassignment surgery (“SRS”) to Michelle Kosilek
(“Kosilek”) and required the Massachusetts Department of Correction (“DOC”) to take the steps
reasonably necessary in preparation for providing the SRS should the appeal of the-September 4,
2012 Order ultimately be unsuccessful

3. The information provided in this affidavit is based on my personal knowledge and
information obtained from DOC Assistant Deputy Commissioner for Clinical Services (“ADC”),
Lawrence Weiner, DOC Deputy Commissioner Katherine Chmiel, and University of
Massachusetts Correctional Health (“UMCH”) Medical Director, Dr. Thomas Groblewski, the

DOC’s medical services provider. The information provided herein is true and complete to the

best of my knowledge

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4 The information contained in this affidavit demonstrates that, far from “foot-
dragging,” the Department has made substantial progress in taking the steps reasonably
necessary to provide Kosilek with SRS promptly should the appeal of the Court’s September 4,
2012 Order ultimately be unsuccessful

5. In response to the Court’s November 20, 2012 Order, I assigned ADC Weiner to
lead a team to identify the actions reasonably necessary to provide inmate Kosilek with SRS,
including the identification of surgeons who can perform SRS, should the DOC’s appeal of the
Court’s September 4, 2012 Order requiring SRS ultimately be unsuccessful Following the
Thanksgiving holiday weekend, on November 28, 2012, ADC Weiner requested that Dr.
Groblewski and Dr. Robert Diener, Chief Psychiatrist for MHM, Inc., the DOC’s mental health
services provider, assist him in taking the actions necessary to provide Kosilek with SRS should
the Department’s appeal of the Court’s September 4, 2012 Order ultimately be unsuccessf`ul,
including the identification of qualified surgeons. Both doctors have experience in the treatment
of inmates diagnosed with gender identity disorders (“GlD”) through their work on the DOC’s
GID Treatment Committee. Dr. Diener presently serves as the chairperson of the GID Treatment
Committee. ADC Weiner’s initial meeting with Dr. Groblewski and Dr. Diener took place one
week later, on December 6, 2012,

6. I was advised by ADC Weiner that at the December 6, 2012 meeting, Dr.
Groblewski and UMCH agreed to take the lead and commence a search for qualified surgeons
available to provide SRS for Kosilek. Dr. Diener also agreed to reach out to mental health
professionals with experience in treating GID for referrals to surgeons who performed SRS. It

was also agreed that the group would continue to meet monthly.

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7. As promptly as possible following the Hanukah, Christmas and New Year’s
holidays, a second meeting was convened on January 3, 2013 with ADC Weiner, Katherine
O’Neill, DOC’s Director of Behavioral Health, Dr. Groblewski, Dr. Diener, Dyana Nickl,
UMCH Director of Operations, and Kathleen Wiwatoski, UMCH Referral Management Nurse,
present. Nurse Wiwatoski reported that she had contacted the director of the _ in
Boston, _, seeking referrals for surgeons qualified to perform SRS on male to
female transsexuals. _ identified two surgeons who had performed SRS for -
- clients: _, M.D., of_ and _, M.D., of-
_. _ advised Nurse Wiwatoski that she was not aware of any

surgeons working in Massachusetts or New York who performed SRS. The lack of surgeons in
Massachusetts or New York who perform SRS was confirmed by Nurse Wiwatoski via a'
thorough intemet search. Dr. Diener’s independent search for SRS surgeons also confirmed that
there were no SRS surgeons in Massachusetts or New York.

8. On January ll, 2013, Nurse Wiwatoski advised ADC Weiner and Dr. Groblewski

that she had identified a transgender conference_

l requested that Dr. Groblewski and Deputy Commissioner Chmiel

attend the -`\presentations by these three surgeons and attempt to meet with the

surgeons.

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9. Dr. Groblewski and Deputy Commissioner Chmiel attended the following-
- seminars by the three surgeons: _ (_); _
_ (_); _ (_). rhey
were able to speak personally with - and _ following their presentations. Dr.
- was not available to speak personally with Dr. Groblewski and Deputy Commissioner
Chmiel after his presentation, however, Dr. Groblewski later contacted _ via telephone
regarding SRS.

lO. - advised Dr. Groblewski and Deputy Commissioner Chmiel that he is
board certified in general surgery, as well as plastic and reconstructive surgery. - stated
that he has performed more than 1000 sex reassignment surgeries using the single stage method,
and that he performs the surgeries at the _. -
- further indicated that after the SRS has been completed, a recuperation period of 10-14 days
in a hospital is required. - stated that he would be willing to perform SRS on an inmate
serving a life sentence. - stated that he is not interested in pursuing licensing,
credentialing and privileging in Massachusetts

ll. _ advised Dr. Groblewski and Deputy Commissioner Chmiel that she is
board certified in plastic and reconstructive surgery. _ stated that she has performed
more than 100 sex reassignment surgeries using the single stage method, and that she performs
SRS in the _ and _, both in the _ area.
Similar to -, _ indicated that after the SRS has been completed, a recuperation
period of 10-14 days in a hospital is required _ stated that she would be willing to
perform SRS on an inmate serving a life sentence. She also stated that she would be interested in

pursuing licensing, credentialing and privileging in Massachusetts.

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12. Dr. Groblewski contacted _ office in - via telephone to inquire
as to _ credentials and experience in performing SRS. _ advised Dr.
Groblewski that he is board certified in plastic and reconstructive surgery. _ stated
that he has performed more than 3000 sex reassignment surgeries and prefers the two stage
method. He performs SRS in a private clinic in __ _ stated that after
the SRS has been completed, a recuperation period of 10 days in a hospital is required. -
- stated that he prefers to perform SRS in two stages, with the second stage taking place
three months after completion of the first stage. _ indicated that he would be willing
to perform SRS on an inmate serving a life sentence. He also stated that he would be interested
in pursuing licensing, credentialing and privileging in Massachusetts

13. Dr. Groblewski also contacted two other surgeons within the United States who

had been-identified _as performing SRS: _, M.D., of -
_ and _, M.D., of_-

14. Dr. Groblewski contacted the office of _, M.D., a surgeon who has
performed more than 1000 sex reassignment surgeries using the one stage method. _
is board certified in obstetrics and gynecology. _ generally requires a recuperation
period of 10-14 days in a hospital. _ would be willing to perform SRS on an inmate

serving a life sentence. - would also consider pursuing licensing, credentialing and

privileging in Massachusetts _relocated her practice from -
-to _-
15. Dr. Groblewski also contacted _, M.D., a plastic surgeon who

performs SRS, and who was identified - as someone willing to perform

SRS for Kosilek. Dr. Groblewski spoke to _ and inquired as to his experience in

 

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performing`SRS. _ is board certified in plastic surgery and has performed 30-40 sex
reassignment surgeries. _ generally requires a rccuperation period of 10-14 days in
a lrospital. _ stated -that he would be willing to perform SRS on an inmate serving a
life sentence. _ stated that he would be interested in pursuing licensing,

credentialing and privileging in Massachusetts

16. Dr. Groblewski also contacted _, a plastic surgeon who
performs S_RS in the-area, and who was identified by the _. Dr.
Groblewski spoke to _ and inquired as to her experience in performing SRS. -

-is board certified in plastic and reconstructive surgery and has performed more than 500
sex reassignment surgeries using the one stage rnethod. _ requires a recuperation
period of 10-14 days in a hospital. _ would be willing to perform SRS on an inmate
serving a life sentence. _ stated that she \-vould consider pursuing licensing,
credentialing and privileging in Massachusetts.

l'7. ‘l`he next steps in the process of providing SRS for Kosilek, should the
Department’s appeal of the September 4, 2012 Order ultimately be unsuccessful, are to conduct
an analysis of the logistics involved in providing SRS for Kosilek by the surgeons identified
above, including the ability to achieve licensing, credentialing and privileging for them in
Massaclnlsetts, potential hospital sites at which the SRS could be performed, and any potential
safety` and security issues arising tlrerefrom, including, but not limited to, transportation issues,
correction officer staffing, and housing of Kosilek pre- and post-surgery and during recuperation.

Signed under the pains and penalties of perjury this 31" day of Januar ', 2013.

_/L‘“/) - L/
Luis S. Sp cer e/
Comrnis oner o orr tion

 
  
  

 

 

